          Case 2:11-cr-00073-RHW              ECF No. 105                filed 02/01/12              PageID.243 Page 1 of 2
O PS 8
(12/04)


                              UNITED STATES DISTRICT COURT
                                                                 «16770»
                                                                      for
                                             Eastern District of Washington


 U.S.A. vs.               Shean Reinhold Hatfield                                     Docket No.               2:11CR00073-002


                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Shean Reinhold Hatfield, who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno
sitting in the court at Spokane, Washington, on the 21st day of November 2011 under the following conditions:

Modified Condition #3: If random urinalysis testing is not done through a treatment program, random urinalysis testing
shall be conducted through Pretrial Services, and shall not exceed six (6) times per month. Defendant shall submit to any
method of testing required by the Pretrial Services Office for determining whether the defendant is using a prohibited
substance. Such methods may be used with random frequency and include urine testing, the wearing of a sweat patch, a
remote alcohol testing system, and/or any form of prohibited substance screening or testing. Defendant shall refrain from
obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of prohibited substance
testing. Full mutual releases shall be executed to permit communication between the Court, Pretrial Services, and the
treatment vendor. Treatment shall not interfere with defendant’s court appearances.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                    (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant provided a urine sample for the purposes of drug testing that was not consistent with normal
human urine.

Violation #2: The defendant provided a urine sample for the purposes of drug testing that was not consistent with normal
human urine.

                            PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                         I declare under penalty of perjury that
                                                                                         the foregoing is true and correct.
                                                                                         Executed on:        01/31/2012
                                                                                by       s/Erik Carlson
                                                                                         Erik Carlson
                                                                                         U.S. Probation Officer
         Case 2:11-cr-00073-RHW      ECF No. 105   filed 02/01/12    PageID.244 Page 2 of 2
  PS-8
  Re: Hatfield, Shean Reinhold
  January 31, 2012
  Page 2

THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[; ]     The Issuance of a Summons
[ ]      Other
                                                             6&<17+,$,0%52*12
                                                              Signature of Judicial Officer
                                                             
                                                              Date
